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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

ALVA E. BEARDSON,                                  )
                                                   )
               Plaintiff,                          )
       vs.                                         )         Case No. 2:20-cv-00269
                                                   )
                                                   )         Judge Theresa L. Springmann
FRANCISCAN ALLIANCE, INC. d/b/a                    )
FRANCISCAN HEALTH,                                 )         Magistrate Judge Joshua P. Kolar
                                                   )
               Defendant.                          )
                                    JOINT STATUS REPORT

       NOW COME Plaintiff Alva E. Beardson and Defendant Franciscan Alliance, Inc., d/b/a

Franciscan Health Dyer Hammond Munster (incorrectly named in the caption as “Franciscan

Alliance, Inc. d/b/a Franciscan Health”) (collectively “the Parties”), by and through their

attorneys, state as follows for their Joint Status Report:

1.     Procedural Posture Of Case: On March 15, 2021 Judge Kolar, entered an Order
       ordering Discovery to be completed seven months after ruling on Defendant's Motion to
       Dismiss. The Court issued its Opinion and Order denying the Defendant’s Motion to
       Dismiss and granting the Defendant’s Motion for More Definite Statement on June 10,
       2021. (ECF No. 25).

2.     Discovery Disclosures. The parties exchanged, but did not file with the Court, rule
       26(a)(1) disclosures contemporaneous with these disclosures.

3.     Discovery Plan. The parties propose the following discovery plan. Discovery will be
       needed on the following subjects:

       a.      Plaintiff anticipates that written discovery and oral discovery may be needed
       concerning the following subjects, including, but not limited to: Plaintiff’s employment
       history, performance reviews, prior exercise of protected rights, and those issues
       addressed in paragraph 4.b., below.

       b.     Defendant anticipates that written discovery and oral discovery may be needed
       concerning the following subjects, including, but not limited to:
       •      Defendant’s relevant rules, policies, and procedures;
       •      Plaintiff's performance and disciplinary history;
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     •      The performance and disciplinary history of similarly situated comparable
            employees;
     •      Plaintiff's job duties;
     •      Plaintiff’s requests for leave;
     •      Plaintiff’s termination of employment, and
     •      Plaintiff's mitigation efforts, if any.

     c.     Disclosure or discovery of electronically stored information should be handled as
            follows: The Parties propose producing relevant electronically stored information,
            to the extent possible, in PDF form.

     d.     The Parties proposed that the last date to complete all fact discovery shall be
            January 14, 2022.

     •      Maximum of 25 interrogatories by each party to any other party.
     •      Maximum of 25 requests for admission by each party to any other party.
     •      Maximum of 5 depositions by Plaintiff and 5 by Defendant.
     •      Each deposition is limited to a maximum of 7 hours unless extended by
            stipulation.
     •      The Parties proposed that they petition the Court by February 11, 2022 to confirm
            whether they anticipate disclosing the identity of any Rule 26(a)(2) witnesses and
            the witnesses’ written report(s) (if applicable).

4.   Other Items.

     Plaintiff does not plan to seek permission to join additional parties.

     The last date Defendant may seek permission to join additional parties and to amend the
     pleadings is September 10, 2022.

     The parties proposed that the time to file Rule 26 (a)(3) pretrial disclosures will be
     governed by separate order.

     The case should be ready for jury trial 60 days after the Court issues a ruling on the
     Parties’ dispositive motions, should such motions be filed by the Parties, and at this time
     is expected to take approximately 3-5 days.

     At this time, all parties do not consent to refer this matter to the currently assigned
     Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for all further
     proceedings including trial and entry of judgment.

5.   Alternative Dispute Resolution.

     The case’s settlement prospects may be enhanced via the following ADR procedure:

     Mediation. The parties have not yet agreed upon anyone as mediator.


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Date: July 21, 2021.


Respectfully submitted,

PLAINTIFF ALVA BEARDSON                                   DEFENDANT FRANCISCAN
                                                          ALLIANCE, INC. D/B/A FRANCISCAN
                                                          HEALTH DYER HAMMOND MUNSTER

/s/ Patrick B. McEuen                                     /s/Christina Jaremus
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                                                          Attorneys for Defendant

                                 CERTIFICATE OF SERVICE

       I, Christina Jaremus, an attorney, certify that on July 21, 2021, I electronically filed the

foregoing JOINT STATUS REPORT with the Clerk of the Court using the CM/ECF system, which

will send notification of such filing to the following:

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                       Attorney for Plaintiff

                                                   By: s/ Christina Jaremus




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